                  Case 1:20-cv-00517-PB            Document 125          Filed 11/01/24         Page 1 of 2
USDCNH-96 (Rev. 7/14) Appearance of Counsel


                                    UNITED STATES DISTRICT COURT
                                                            for the
                                                District of New Hampshire


                    William Soler Justice                      )
                            Plaintiff                          )
                               v.                              )      Case No.    1:20-cv-00517-PB
               Christopher T. Sununu, et al.                   )
                           Defendant                           )

                                               APPEARANCE OF COUNSEL

To:      The clerk of court and all parties of record

         I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

       Governor Christopher Sununu, Helen Hanks, Daniel Potenza, Wendy Martin, Paula Mattis, Deborah Robinson,
       Carlene Ferrier, Frank Logan, Scott Marshall, Joshua Deblois, Mark Kimball, Randal Carver, Nathan Seabron.
       .
                                                                           /s/ Duncan A. Edgar
Date: November 1, 2024
                                                                                         Attorney’s signature
                                                                      Duncan A. Edgar, NH Bar #266272
                                                                                     Printed name and bar number



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I hereby certify that this Appearance was filed in the court's electronic filing system and served on the following
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   Conventionally Served: William Soler Justice, 51 Storrs Street, #310, Concord, NH 03301




 November 1, 2024                                           /s/ Duncan A. Edgar
Date                                                        Signature



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